           Case 1:21-mj-00020-GMH Document 28 Filed 08/11/21 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA,



            v.                                        Case No. 1:21-mj-00020-GMH
                                                      Mag. Judge: G. Michael Harvey

  ADAM JOHNSON,


                            Defendant.



                                               ORDER

            Based on the representations of the Defendant in his Consent Motion to Continue

  Status Hearing, and upon consideration of the entire record, including representations by the

  Defendant's counsel that the Defendant has waived his right to a preliminary hearing, it is

  hereby

            ORDERED that the status hearing currently scheduled for August 20, 2021 is continued

  to 1:00 p.m. on November 8, 2021, before Magistrate Judge Robin M. Meriweather. It is

further

          ORDERED that the time between August 20, 2021 and November 8, 2021 shall be

excluded from calculation under the Speedy Trial Act. The Court finds that the ends of justice

served by the granting of such continuance outweigh the best interests of the public and the

Defendant in a speedy trial, as the continuance will provide the parties with additional time

to review the voluminous discovery in this matter as well as discuss a potential pretrial

disposition.

                                                                    Robin M. Meriweather
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                                             HONORABLE ROBIN M. MERIWEATHER
                                             MAGISTRATE JUDGE
